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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_______________________________________________

UNITED STATES OF AMERICA,



                                    Plaintiff,

                                                                 DECISION AND ORDER

                                                                 10-CR-6211L

                     v.

RAUL EDUARDO RIVERA DE LA TORRE,


                              Defendant.
________________________________________________


       No objections having been filed, I accept and adopt the Report and Recommendation (Dkt.

#149) of United States Magistrate Judge Marian W. Payson, and I deny as moot without prejudice

to renewal defendant’s motion to suppress evidence.

       IT IS SO ORDERED.



                                    _______________________________________
                                             DAVID G. LARIMER
                                           United States District Judge
Dated: Rochester, New York
       March 23, 2012.
